     Case 2:19-cv-06739-AB-PLA Document 17 Filed 02/26/20 Page 1 of 2 Page ID #:72




 1                                                                 JS-6
 2
 3
 4
 5
 6
 7
 8                        UNITED STATES DISTRICT COURT
 9
                        CENTRAL DISTRICT OF CALIFORNIA
10
11   M. PAPADOPOULOS DENTAL                 Case No.: 2:19-cv-06739-AB-PLA
12   CORP. dba VILLAGE FAMILY
     DENTAL OFFICE, Individually and
13
     On Behalf of All Others Similarly       [PROPOSED] ORDER RE
14   Situated,                               STIPULATION TO DISMISS
15               Plaintiff,
16
           vs.
17
18   PHILIPS ORAL HEALTHCARE,
19   INC.,
20               Defendant(s).
21
22
23
24
25
26
27
28

                                           -1-

                                                                             ORDER
     Case 2:19-cv-06739-AB-PLA Document 17 Filed 02/26/20 Page 2 of 2 Page ID #:73




 1   The Stipulation to Dismiss Plaintiff’s individual claims with Prejudice, putative
     class claims without is hereby Approved. All parties shall bear their own costs
 2   and attorneys’ fees.
 3
 4
     IT IS SO ORDERED.
 5
 6
     Dated:February 26, 2020
 7
                                                     By:
 8
                                                     Andre Birotte Jr
 9
                                                     United States District Judge
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                               -2-

                                                                                    ORDER
